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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF ILLINOIS
                         WESTERN DIVISION

UNITED STATES,                      )
                                    )
                         Plaintiff, )       No. 19 CR 50016
      v.                            )
                                    )       Judge Matthew Kennelly
FLOYD E. BROWN,                     )
                         Defendant. )

                              NOTICE OF MOTION

      Please take notice that on March 25, 2019, I caused to be filed in the
United States District Court for the Northern District of Illinois, Eastern
Division, the MOTION EARLY RETURN OF TRIAL SUBPOENAS, a copy of
which has been served upon you.

       Take further notice that I shall appear before Hon. Matthew Kennelly or
any judge sitting in his stead in Courtroom 5100, 327 Church Street, Rockford,
Illinois, on March 28, 2019, at 3:00 p.m., and then and there present the
aforesaid Motion.

                                            __John M. Beal__________
                                            Attorney for Defendant
John M. Beal
Attorney at Law
53 W. Jackson Blvd. - Suite 1615
Chicago, IL 60604
(312) 408-2766
                        CERTIFICATE OF SERVICE

      I, John M. Beal, attorney, state that I caused a copy of MOTION FOR
EARLY RETURN OF TRIAL SUBPOENAS and Notice of Motion to be served on
March 25, 2019, in accordance with Fed.R.Crim.P. 49, Fed.R.Civ.P. 5, LR 5.5,
and the General Order on Electronic Case Filing (ECF) pursuant to the district
court’s system as to ECF filers.

                                            Executed on March 25, 2019

                                            __John M. Beal___________________
                                                 John M. Beal
